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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            WESTERN DIVISION

    Pierre G. Thorsen,

                  Plaintiff,
                                                              Case No.: 3:20-cv-50132
          v.
                                                              Judge Iain D. Johnston
    Community Unit School District 300,

                   Defendant.


                         MEMORANDUM OPINION AND ORDER
Plaintiff Pierre G. Thorsen brings this Fifth Amended Complaint (“Complaint”)

against Community Unit School District (“the District”), alleging Title VII

employment discrimination and other supplemental state law claims. The District

moved for summary judgment. For the reasons below, the Court grants the District’s

Motion.


Background


         1)    Rule 56.1 Discussion


         Before summarizing the material facts, the Court must first address Thorsen’s

total noncompliance with Local Rule 56.1. 1 Local Rule 56.1 “is designed, in part, to

aid the district court, ‘which does not have the advantage of the parties’ familiarity




1 Throughout this Opinion, the Court refers to “Thorsen” (and not “Thorsen’s counsel”),
because that’s standard practice. However, the Court doesn’t expect Thorsen, a represented
plaintiff, to know the ins and outs of 56.1. Instead, the Court blames Thorsen’s counsel and
directs its frustrations and bewilderments squarely in their direction.
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with the record and often cannot afford to spend the time combing the record to locate

the relevant information,’ in determining whether a trial is necessary.” Delapaz v.

Richardson, 634 F.3d 895, 899 (7th Cir. 2011) (citation omitted). “The obligations set

forth by a court’s local rules are not mere formalities.” Zuppardi v. Wal–Mart Stores,

Inc., 770 F.3d 644, 648 (7th Cir. 2014). Given 56.1’s importance, the Seventh Circuit

has “consistently and repeatedly upheld a district court’s discretion to require strict

compliance with its local rules governing summary judgment.” Bordelon v. Chicago

Sch. Reform Bd. of Trustees, 233 F.3d 524, 527 (7th Cir. 2000) (citing Waldridge v.

Am. Hoechst Corp., 24 F.3d 918, 922 (7th Cir.1994) (collecting cases)).


       Local Rule 56.1 requires a party moving for summary judgment to submit a

statement of material facts that it contends are undisputed and entitle it to summary

judgment. L.R. 56.1(a)(2). Then, the party opposing summary judgment must file a

response. L.R. 56.1(b)(2). The response must consist of numbered paragraphs that

correspond to the movant’s paragraphs. 56.1(e)(1). A party must admit, dispute or

partially admit or dispute each of the movant’s paragraphs. 56.1(e)(2). “To dispute

an asserted fact, a party must cite specific evidentiary material that controverts the

fact and must concisely explain how the cited material controverts the asserted fact.”

56.1(e)(3).


       Especially important in this case, Local Rule 56.1 bars the nonmoving party

from “set[ting]forth any new facts” in its response. 56.1(e)(2); see also Phillipson v.

McAleenan, No. 14-CV-08138, 2019 U.S. Dist. LEXIS 169093, at *1–*6 (N.D. Ill. Sept.

30, 2019), aff'd sub nom. Phillipson v. Wolf, 831 F. App’x 212 (7th Cir. 2020). Nor can

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the nonmovant assert legal arguments. 56(e)(1); see also Rivera v. Guevara, 319 F.

Supp. 3d 1004, 1018 (N.D. Ill. 2018) (“[C]ourt[s] disregard the portions of the parties’

Local Rule 56.1 submissions that make legal arguments and assert legal conclusions,

which are not factual statements at all.”).


        Thorsen’s Local Rule 56.1(b)(2) filing is essentially impenetrable. Improper

(and unsightly) formatting, lengthy irrelevant facts and inferences, and legal

arguments blanket its fifty-one pages, shrouding all (if any) procedurally compliant

responses. No characterization does justice; the Court lets Thorsen’s Response speak

for itself, exemplified by these examples: 2


        •   District Fact 6 (dkt. 195, pg. 2): 3 “In February 2019, the
            District received a complaint from the parents of a Jacobs
            High School student…”
               o Thorsen’s Response (dkt. 226, pg. 3): “. . . The
                  wording ‘received a complaint’ is purposely ambiguous.
                  Although the District received a complaint, Plaintiff
                  never received a copy of it, even though he had a
                  contractual right to a copy. While D300 ‘received a
                  complaint,’ [the complaining family] never provided a
                  ‘written’ complaint of their accusations, so D300 would


2 The Court’s quotations are an improvement because they reformat Thorsen’s filing, which
employs confusing tables and numbered lines. See, e.g., dkt. 226, pgs. 10–12, 19–21, 49–51.
Thorsen also arbitrarily divides the District’s paragraphs into separate facts, further
complicating the Court’s work and likely violating LR 56.1(e) (“[The] response must consist
of numbered paragraphs corresponding to the numbered paragraphs in [the movant’s]
statement.”) (emphasis added).
3 A note on numbering and citations: The District divides its facts into separate sections and

restarts the numbering at each new section. Thorsen, in turn, further divides the District’s
paragraphs. For simplicity’s sake, the Court cites the respective page on which the fact
appears.
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              not be contractually obligated to provide any complaint
              to Plaintiff, leaving him unable to prepare for the fact-
              finding meeting.”
    •   District Fact 12 (dkt. 195, pg. 2): “Once the District gathered
        information from students, [District officials] held a fact-
        finding meeting with Plaintiff.”
           o Thorsen’s Response (dkt. 226, pg. 5): “. . . The
              meeting was not fact-finding. Facts that disputed the
              [complaining      family’s]   claims   were   ignored. . . . ”
              (Thorsen’s complete response to District Fact 12
              reaches 600+ words).
    •   District Fact 70 (dkt. 195, pg. 14): “Plaintiff was also not the
        only teacher in the District to have resigned when facing
        disciplinary action.”
           o Thorsen’s Response (dkt. 226, pgs. 49–51) (denying in
              part) Plaintiff, a Christian, was not truly facing
              disciplinary action. Instead, a long series of contrived
              disciplinary actions had already taken place in
              coordination with the Muslim family and the union in
              order to establish a pretextual paper trail to justify
              terminating Plaintiff, thus appeasing the Muslim
              family who were threatening to sue D300. (citation
              omitted).   Plaintiff was not ‘facing’ true disciplinary
              action; he was forced to choose between termination or
              resignation, which is a fundamentally different position
              than the stated fact. (citation omitted). Plaintiff, a
              Christian, is the only tenured teacher to be told to enter
              a placeholder grade by his department chair four school
              days after a Muslim family’s initial contact/verbal
              complaint with D300 about Plaintiff, then subsequently

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             subject to his first ever formal discipline to be placed in
             his personnel file, just four days after the second
             meeting with the Muslim family. (citations omitted).
             Plaintiff was the only Kane County teacher of the year
             nominee whose Christianity was discussed by central
             office secretaries with disdain and vitriol just two days
             after district administration met for the second time
             with a Muslim family who, without filing a written
             complaint, made allegations against Plaintiff based on
             a supposition inconsistent with text messages they
             collected. (citations omitted).    Plaintiff was the only
             tenured Christian teacher who was subject to discipline
             based on unsubstantiated accusations that a Muslim
             family “thinks” happened, despite never obtaining any
             testimony from the daughter/student.             (citations
             omitted). And subsequently had a Notice to Remedy
             with a multitude of infractions listed that did not
             violate the policies cited. Plaintiff, who is Christian,
             was    the   only    tenured      teacher   whose   union
             representation was informed of “all the details” three
             days after a Muslim family made false accusations.
             Plaintiff is the only tenured teacher whose union then
             conspired with administration to ambush Plaintiff at
             the fictitious grade meeting with an unannounced
             second topic. (citations omitted).
             The Christian Plaintiff was the only teacher who was
             falsely accused of not following the curriculum three
             school days after the third time the Muslim family met
             with administration. (citations omitted).



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             At a seemingly unrelated disciplinary meeting held two
             days after the Muslim family’s second meeting with
             administration, Plaintiff, a Christian, is the only
             tenured teacher who, with union representation at his
             side, sat through a disciplinary meeting about entering
             the placeholder grade he was instructed to enter, while
             the union representative had the evidence in hand. The
             union destroyed the evidence and refused to pursue a
             grievance related to the placeholder grade discipline so
             that the union and administration could build a paper
             trail that would make it appear as though the teacher
             was not meeting the district’s legitimate expectations.
             (citations omitted).
             Plaintiff was the only Christian teacher who sat in a
             meeting that began with a discussion of the potential
             lawsuit of the Muslim family, after which, Plaintiff was
             threatened with termination and forced to resign for
             conducting activities, known by O’Keefe to be aligned
             with the curriculum, policies, and initiatives created
             and promoted by D300. (citation omitted). This, not
             coincidentally, followed a month’s-long series of threats
             of a lawsuit from the Muslim family. (citation omitted).
             Plaintiff’s   documents       were   not   viewed     by
             administration or union representation.         (citation
             omitted). The matter had already been discussed with
             the School Board prior to the meeting.          (citation
             omitted). Plaintiff is the only tenured teacher whose
             Christianity was mocked by administration two school
             days after his forced resignation, primarily by Falk, the
             social studies divisional administrator at Hampshire

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                high school, who stated in his deposition that the topic
                related to the KFC bucket prop (Kentucky Fried
                Christians) came up later in the curriculum. (citation
                omitted). For greater detail on Plaintiff being the only
                teacher subject to what Movant is attempting to paint
                as resigning when facing discipline, a chronological
                explanation with citations and evidence to support the
                above facts is included as (citation omitted).
      •   District Fact 24 (Dkt. 195, pg. 15) “According to the Union,
          the likely repercussion of a violation of a Notice to Remedy
          would be termination . . . .”
             o Thorsen’s Response (Dkt. 226, pg. 13) (denying-in-
                part) “Opening this point with ‘according to the union’
                is an obvious attempt to deflect blame. . . . ”

Flouting the Rules, Thorsen tosses his responsibility to efficiently identify the

material facts onto the Court, inverting Local Rule 56.1’s purpose and forcing the

Court to hack through irrelevant and inadmissible clutter.               Under these

circumstances, the Court is entitled to enforce strict compliance and grant summary

judgment for the District. Bordelon, 233 F.3d at 527.


      It’s also unfair to the District to permit this sort of briefing. Though the Local

Rules primarily guard the Court’s resources, they simultaneously ensure an efficient

litigation process.   The Court may choose to expend many days sifting through

Thorsen’s Response, but it doesn’t follow that the Court can demand that the District

do the same. It’s a bad incentive too: bury a Rules-compliant movant in pages of

56.1(b)(2) violations, creating the illusion of disputed facts, and suffocate a


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meritorious motion. Further, permitting Thorsen’s Response would also allow him to

end-run 56.1(d)(5): “An opposing party’s LR 56.1(b)(3) statement of additional facts

must not exceed 40 numbered paragraphs,” without the court’s permission. Thorsen’s

Response fills fifty pages with new facts, which would far exceed the allotted amount

were they alleged in a 56.1(b)(3) statement.


        The Court finds that Thorsen’s 56.1(b)(2) Response deserves to be stricken in

its entirety. His 56.1(b)(3) statement of additional facts doesn’t fare much better,

rarely providing specific record citations, as 56.1(d)(2) requires, speculating and

relying on inadmissible conjecture. 4 To the extent Thorsen’s additional facts aren’t

duplicative, they’re immaterial, inadmissible, or not 56.1 compliant. Nevertheless,

the Court explains separately why the District is entitled to summary judgment on

the merits.    In doing so, it considers (as much as possible) Thorsen’s 56.1(b)(2)

Response but construes any ambiguity resulting from his noncompliance against him.

See Igasaki v. Ill Dept. of Fin. & Prof. Reg., 988 F.3d 948, 957 (7th Cir. 2021) (finding

it “well within [the district court’s] discretion” to strike some of the improperly

asserted facts, but consider others).




4 See, e.g., dkt. 226, pg. 53 (“The District had already conspired with the Union to undermine
Thorsen, behind his back.”) (citing three pages of Thorsen’s affidavit speculating about a
conspiracy); Id. (“Thorsen provided the student with resources that helped her, as opposed
to the ineffectual resources the District provided.”); Id. (“The District is trying to diminish
Christians and Christianity from the historical record, because it removed all Christian books
from the Jacobs library, diminished Christian knowledge and understanding from the
curriculum following the discharge of Thorsen and eliminated the Christian Uprising Club,
while allowing non-Christian religious clubs to remain.”) (citing collectively Thorsen’s own
affidavit, another affidavit saying the school cancelled the club, and an “Exhibit 26,” (likely
Exhibit 25) showing a list of various cultural celebration months).
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      2)     Facts


      Thorsen quibbles with the way the District’s characterizes nearly all of its

facts, and often provides lengthy explanations for their existence or significance. But,

for the most part, Thorsen doesn’t dispute these determinative facts:


      Parents alleged that Thorsen acted inappropriately with their daughter,

encouraging her to convert to Christianity and otherwise violating appropriate

student–teacher boundaries. That allegation sparked an investigation into Thorsen’s

conduct at school. The investigation—including a meeting with Thorsen—led the

District to recommend and the School Board to adopt a resolution that imposed a

suspension and certain restrictions on Thorsen’s behavior. Immediately after his

return, the District learned that Thorsen may have engaged in conduct that violated

those restrictions and interviewed students to gather more information. The District

then instructed Thorsen to participate in an investigatory meeting, at which he

admitted to the underlying conduct but contended it was appropriate. Believing the

District would fire him, Thorsen resigned. These are the details:


             a.      Relevant Non-Parties


      Colleen O’Keefe was the District’s Chief Legal Officer. Dkt. 195, pg. 2; Dkt.

226, pg. 2. Kara Vicente was its Chief Academic Officer. Dkt. 195, pg. 2; Dkt. 226,

pg. 2. Mike Williamson was the President of the District’s teachers’ union. Dkt. 195,

pg. 3; Dkt. 226, pg. 7. Rob Lyons is an Illinois Education Association attorney. Dkt.

195, pg. 5; Dkt. 226, pg. 14. Lynn Adler is an attorney and a director with the Illinois


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Education Association. In this factual background, the Court considers the “the

District” and the District’s “Board of Education” separate entities. So, the District’s

action isn’t necessarily the School Board’s action.


              b.    District’s Initial Investigation & Findings (February–April 2019)


       Thorsen taught World History at a District school from 1997 until August

2019. Dkt. 226, pg. 52, ¶ G1. At all relevant times, Thorsen observed and practiced

Christianity. Dkt. 195, pg. 1; dkt. 226, pg. 1. In February 2019, a student’s parents

complained to the District about Thorsen’s interactions with the student. Dkt. 195,

pg. 2. The parents alleged that Thorsen gave their daughter a Bible, inappropriately

discussed religion with her, and provided her with contact information for adults not

affiliated with the District.    Id.; dkt. 226, pg. 53 ¶ G20 (Thorsen noting his

“extraordinary efforts to help a troubled student, providing her with more help than

the District”).


       To keep things organized, this is essentially the District’s standard disciplinary

process: (1) Someone files a complaint against a teacher, (2) the district investigates

the complaint, (3) the district organizes a “fact-finding” meeting with the accused, (4)

the district drafts a “Notice to Remedy,” (5) the District discusses the Notice with the

accused at a “fact-finding follow-up,” (6) the District proposes the Notice to Remedy

at the School Board’s meeting, (7) the School Board must adopt it.


       In Thorsen’s case, the District investigated the parents’ allegations. Dkt. 195,

pg. 2. It then organized a “fact-finding” meeting. Id. pg. 3. Fact-finding meetings


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help determine what occurred and gives an employee the chance to respond to

concerns. Id. As required, the District informed Thorsen that the meeting could lead

to discipline and that he could bring a union representative. Id.; dkt. 226, pg. 7. In

that three-hour meeting, Thorsen admitted that he provided a student with resources

outside the District, and sometime discussed religion with inquiring students. Id.,

dkt. 226, pgs. 9–10. Thorsen believes that the District didn’t give him enough time

to present his case and that the Union didn’t properly represent him. See dkt. 226,

pgs. 5–6.


               c.     District’s Notice to Remedy


        The District determined that Thorsen violated the District’s policies, and

prepared a “Notice to Remedy.” 5 Dkt. 195, pgs. 3–4. A Notice to Remedy is a state-

required official, written statement that lists issues a tenured teacher must correct

to continue employment. Id. at 4.


        The Notice explained that “[b]ased on the investigation,” the District concluded

that: (1) Thorsen initiated a student Bible Study class without the knowledge or

approval of the District. See dkt. 195, Ex. 4, pg. 1; (2) Provided a student with a Bible;

Id. (3) Repeatedly discussed religion, particularly Christianity, with students and in

a way that was not part of the school’s curriculum; (4) Engaged in conversations with

a student about the student’s religious conversion, and made positive comments



5 In his 56.1(b)(2) Response, Thorsen (in 1500+ words) challenges each of the District’s factual
findings in its Notice to Remedy. But the material fact is whether the District (rightly or
wrongly) determined that Thorsen violated the District’s policies. This isn’t the time or place
to challenge the District’s substantive findings.
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about her interest in Christianity; (5) Discussed one student’s personal matters with

other students; (6) Without informing the parents or directing the student to trained

staff, “[p]rovided the student with the names and contact information of several

adults that have no affiliation with the school or District,” which Thorsen said he did

to “provide [the student] with a support network and to prepare for the possibility

that the student may be disowned by her parents.” Dkt. 195, Ex. 4, pg. 1.


       The District determined that Thorsen “exhibited an unacceptable lack of

understanding as to the appropriate parameters of the teacher/student relationship.”

Id.   Consequently, it recommended that the Board impose a seven-day unpaid

suspension, transfer schools, and adopt remedial directives for Thorsen to follow after

his return. Relevant in this case included three specific directives:


             (8) Do not discuss religion with students unless it is in in
             the context of an academic subject that the prescribed
             curriculum dictates.      More specifically, do not give
             preferential treatment to any single religion or religious
             belief. This includes discussing your faith and/or the faith
             of others before, during or after school. This also includes
             answering questions about your faith and Christianity
             before, during or after school.
             (14) Refrain from referencing a student’s cultural,
             religious, or racial background or discussing the same any
             time during the performance of the your duties.            This
             includes instructional time and all interactions with
             colleagues and students in your professional capacity as
             teacher. The only exception to this directive would be if the


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               information is relevant to the health, safety, or welfare
               concern.
               (15) Refrain from making comments or discussing topics
               that would imply an inappropriate level of familiarity with
               a student.

Id. The Notice also stated that “[f]ailiure to comply with these directives will result

in further disciplinary action, up to and including your dismissal as a tenured

employee in this School District.” Id.


        On April 16, 2019, the District held a fact-finding follow-up meeting to discuss

the Notice with Thorsen.        Dkt. 195, pg. 4; dkt. 226, pg. 13.         Union President

Williamson, and Illinois Education Association attorney Rob Lyons were present.

Dkt. 195, pgs. 4–5; dkt. 226, pgs. 13–14. The Union frequently involved attorneys in

the Notice proceedings. Dkt. 195, pg. 5; dkt. 226, pg. 14. O’Keefe, Vicente, and

Willamson all testified that each part of the Notice was explained to Thorsen and that

clarifying questions were asked. Dkt. 195, Ex. 2, 119:16–121:24; Ex. 3, 96:1–18; Ex.

6, 73:24–74:17. 6


        On April 23, 2019, the District’s Board of Education adopted the resolution

authorizing the Notice to Remedy. Dkt. 195, pgs. 5–6; Dkt. 226, pg. 15. Thorsen

admits that the above Notice provisions “applied to [Thorsen’s] professional conduct




6In response, Thorsen points to his own affidavit saying the Union representatives didn’t
speak during the meeting. As the Court explains below, the extent to which the Union
representatives participated in the meetings is immaterial to deciding the Title VII question.
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and interactions with students, generally, for the balance of his employment.” Dkt.

195, pgs. 5–6; Dkt. 226, pg. 16.


               d.    Thorsen’s August 2019 Conduct


        Pursuant to the Notice, the District transferred Thorsen to another school.

Dkt. 195, pgs. 5–6; Dkt. 226, pg. 17. He was assigned two classes, World History and

U.S. History, as well as an academic support period. The academic support period

functioned like a study hall, where a teacher supervised and answered general

questions, but wasn’t expected to conform to any curriculum. 7


        On the first day of school, in both his classes and the academic support period,

Thorsen conducted a “get-to-know-you ice-breaker.” Dkt. 195, pg. 6; Dkt. 226, pg. 18.

Thorsen asked students about the “historical background” of their last names. Dkt.

196, Ex. 1, 40:13–20. If a student didn’t understand what Thorsen meant by that

question (which many didn’t), he would ask “what’s the background of your last name,

can you tell me the origin of that name?” Id. 40:22–41:2. If students were still

confused, Thorsen would use his name as an example and tie it to his Scandinavian

and Norwegian background. Id. 41:20–42:12. If students didn’t know the origins,

Thorsen encouraged them to discuss their “family background and heritage of th[eir]

name” with their parents and let him know. Id. 42:3–42: 21. Thorsen was the only




7 Thorsen splits hairs over a teacher’s role in the study period. The District says it’s not
“instructional time,” and that there’s no curriculum but that students can ask for help with
their classes. According to Thorsen, he can only assist if he’s also instructing. That’s all
beside the point, because Thorsen admits that the Notice applied to all of his interactions and
conduct.
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teacher known to have conducted such an ice-breaker. 8 Id. Ex. 11; 36:4–19; Ex. 3.,

24:14–25:20.


       The District received a complaint about or otherwise became aware of

Thorsen’s ice-breaker. 9 See Id. Ex. 3, 23:4–12; Ex. 12, ¶¶ 4–6. In response, the

District investigated the accusation. Dkt. 195, pg. 7; dkt. 226; pg. 23. It interviewed

approximately ten students in Thorsen’s class. Dkt. 195, pg. 7; dkt. 226; pg. 23. The

students “consistent[ly]” reported that Thorsen’s ice-breaker asked them to provide

information about “their background[,] heritage, [and] ethnicity.” Dkt. 195, Ex. 3., 24.

The students also reported that once they shared information about their cultural

background, Thorsen would comment on how that background might affect them

today. See Dkt. 195, Ex. 2, 50:20–51:6 (“[I]f they were half German and half Italian,

he would say something to the effect of . . you’re at war with yourself . . . because

this part of you is fighting this part of you.”). 10


       The interviewed students also reported that Thorsen had empty Kentucky

Fried Chicken (“KFC”) buckets in his classroom on the first days of schools. Dkt. 195,



8 Thorsen writes a 550+ word essay responding to this fact, offering a winding, irrelevant

tangent about his understanding of the ice-breaker and other school policies. As the Rules
require, the Court ignores all of that. He also doesn’t identify another teacher who was
known to lead such an ice-breaker.
9 In 700+ words, Thorsen contends that there’s no documented evidence of a “complaint”

related to the ice-breaker. The District couldn’t produce one, instead largely admitting that
they’re not 100% sure how it came to their attention—a Board member’s child, another
teacher, or through the grapevine. But Thorsen admits he ran the ice-breaker, so it’s baffling
why he spills so much ink on this immaterial point.
10 Thorsen doesn’t dispute this information, indeed he admits “the students may have

reported the ice-breaker.” Instead, his lengthy response “denying in-part” only argues that
his ice-breaker was consistent with the curriculum. The Court, therefore, accepts that
students made these reports.
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pg. 8; dkt. 226; pg. 24. When a student asked about the buckets, Thorsen explained

that they symbolized how Christians were persecuted and burned alive in ancient

Rome, becoming “Kentucky Fried Christians.” 11 Dkt. 195, pg. 8; dkt. 226; pgs. 24–26.


              e.     August 2019 Notice of Fact-Finding and Thorsen’s Departure


       On or around August 20, 2019, O’Keefe sent a Notice of Fact-Finding, directing

Thorsen to report to a meeting on August 23, 2019. Dkt. 195, pg. 8; dkt. 226; pg. 26.

The Notice of Fact-Finding advised Thorsen that the meeting’s purpose was to

investigate whether his actions on the first few days of school violated the April 2019

Notice to Remedy, specifically directives (8) (discussing religion outside of prescribed

curriculum); (14) (referencing a student’s cultural, religious, or racial background);

and (15) (making comments or discussing topics that would imply an inappropriate

level of familiarity with a student). Dkt. 195, pg. 8; dkt. 226; pgs. 26–27.


       The facts show that at the time the District notified Thorsen about the

meeting, the District intended to gather more information and determine what

happened in the classroom; the District hadn’t yet decided about Thorsen’s

employment. 12 Dkt. 195, Ex. 2, 96:1–97:14, 113:4–18 (O’Keefe testifying that she

participated in fifty meetings and never went into them with predetermined




11 Again, Thorsen admits all of this as a factual matter, but argues that his actions were

within the curriculum.
12 Thorsen denies this (i.e. argues that the District had already made a decision), but points

to no facts in the record to refute it. Instead, he argues that, because he didn’t share
documents or sufficiently present his case at the meeting, the District must have already
made a determination before they scheduled the meeting. But that’s an inference, not a fact.
So, for summary judgment purposes, the District’s version is undisputed.
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conclusions); Ex. 3, 87:22–89:6 (Vicente testifying that the meeting’s purpose was to

give Thorsen an opportunity to respond to the allegations); Ex. 6, 29:13–30:15

(Williamson testifying that fact-finding meeting are meant to determine whether the

accusations are truthful). The District hadn’t communicated with the Board about

Thorsen’s alleged violations before the meeting. 13 Ex. B, 34:14–16.


         Thorsen, O’Keefe, Vicente, and Williamson attended the August 23, 2019

meeting. Dkt. 195, pg. 9; dkt. 226; pg. 29. Lynn Adler, an attorney and a director

with the Illinois Education Association, also attended. Id. The purpose of Union

representation at the fact-finding meeting was to advise Thorsen and ensure

compliance with the collective bargaining agreement. 14 Dkt. 195, pg. 10.


         At the meeting, Thorsen admitted that he conducted the ice-breakers and that

he discussed his KFC prop during an academic support period. Dkt. 195, pgs. 9–10;

dkt. 226; pgs. 31–32. He also admitted that he hadn’t used the KFC props since

approximately 2006. Id. Thorsen said both the ice-breaker and the prop complied

with the District’s polices. Dkt. 226; pgs. 31–32. O’Keefe then said, “in her view,”




13 Thorsen denies this fact, essentially arguing that contact occurred between the District and
the parent of an interviewed student in Thorsen’s class who was also a Board member. The
record supports that response, but the Court understands the District to be saying that there
was no formal communication (i.e. a letter/advisement) sent to the Board of Education before
the fact-finding meeting. Regardless, it seems immaterial whether a Board member (or the
Board) knew about the fact-finding meeting.
14 The Court accepts this as a fact, because Thorsen doesn’t meaningfully dispute it. He cites

Williamson’s testimony that the Union didn’t recommend one action over another, instead
explaining the expected ramifications of each approach (which is what “advise” means). See
Dkt. 226, pg. 30 (citing dkt. 195, Ex. 6, 36:2, 17, 18). Thorsen also argues, without any proof,
that the Union “worked against” him, citing with no pinpoint his 1500+ word, conjecture-
filled response to another fact.
                                              17
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Thorsen violated the Notice to Remedy, 15 but that she was not the person who could

suspend or terminate him. Dkt. 195, Ex. 2, 56:18–57:20. To terminate or suspend a

tenured teacher like Thorsen, the Board would need to adopt such a resolution. Dkt.

195, pg. 10.


       The Court can’t make sense of Thorsen’s responses to what happened next at

the meeting. But in sum (and drawing reasonable inferences in Thorsen’s favor

despite 56.1 violations), O’Keefe implied that the Board would likely accept her

findings and ultimately fire him. See dkt. 195, pg. 10. Without District officials

present, Williamson and Adler discussed Thorsen’s options and largely agreed with

O’Keefe’s predictions.     See dkt. 195, pg. 10.       Williamson and Adler suggested

Thorsen’s best move was to resign. See dkt. 195, pg. 10. Williamson and Adler

communicated Thorsen’s willingness to resign to O’Keefe.            See dkt. 195, pg. 10.

O’Keefe returned with a letter of resignation, and Thorsen, feeling pressured, signed

it. See dkt. 195, pg. 10. Thorsen admits that O’Keefe didn’t speak directly to him

about resigning. See dkt. 226, pg. 40. Thorsen speculates that, outside his presence,

O’Keefe told Williamson and Adler that Thorsen had to resign immediately. 16


15 The Court also accepts this as a fact, because Thorsen’s “denial” isn’t appropriate.   He
writes “[r]efusing to view Plaintiff’s documents, and not taking them with for the Board to
view disproves O’Keefe[’s] assertion that ‘in her view’ he had violated the Notice to Remedy
because her ‘view’ did not include all the facts.” That nonsensical argument belongs nowhere
near a 56.1(b)(2) response.
16 Thorsen denies that O’Keefe and Vicente did not tell Williamson that Thorsen needed to

resign before leaving the meeting. Dkt. 226, pg. 38. Citing his own affidavit, Thorsen infers
that such a condition was imposed because Williamson came back into the room and
(according to Thorsen) said “the deal is, you have to make that choice before you leave the
room.” (emphasis added). Dkt. 226, pg. 38. Thorsen reasons that since “it takes two sides to
make a deal, the time limit probably came from O’Keefe and/or Vicente.” Dkt. 226, pg. 38.
The Court can’t take that sort of 56.1 response seriously either.
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Thorsen also speculates, without evidence, that O’Keefe had prepared a letter of

resignation before the meeting and that Williamson and Adler “colluded” with the

District.


Summary Judgment Analysis


         Summary judgment is proper “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). A genuine dispute of material fact exists if a reasonable

jury could return a verdict for the nonmovant, construing the evidence and all

reasonable inferences in favor of the nonmovant. Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 248–49 (1986); Rickher v. Home Depot, Inc., 535 F.3d 661, 664 (7th Cir.

2008).        However, the Court need not draw every conceivable inference, only

reasonable ones. Moser v. Ind. Dep’t of Corr., 406 F.3d 895, 905 (7th Cir. 2005). And

“[s]peculation is insufficient to withstand summary judgment.” Ortiz v. John O.

Butler Co., 94 F.3d 1121, 1127 (7th Cir. 1996). Indeed, “the nonmoving party ‘must

do more than simply show there is some metaphysical doubt as to the material facts.’”

Id. (quoting Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586

(1986)). Under Local Rule 56.1, the Court limits its analysis to the facts presented in

the Parties’ 56.1 statements. Kirsch v. Brightstar Corp., 78 F. Supp. 3d 676, 697 (N.D.

Ill. 2015).


         a)      Title VII Claim




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         First, the Court understands Thorsen to ground his Title VII claim on his

August 2019 departure. That’s the natural reading of his Complaint and the only

issue he substantively addresses in his 56.1(b)(2) Memorandum. Importantly, then,

Thorsen doesn’t claim that the April 2019 Notice to Remedy and Thorsen’s suspension

constituted a Title VII adverse employment action or discrimination. 17


         Title VII prohibits an employer from “discriminat[ing] against any individual

with respect to his compensation, terms, conditions, or privileges of employment,

because of such individual’s race, color, religion, sex, or national origin.” 42 U.S.C. §

2000e-2(a)(1). In discrimination cases, “[w]hen a defendant moves for summary

judgment, the ‘singular question’ for the district court is whether the plaintiff has

introduced evidence that would ‘permit a reasonable factfinder to conclude that the

plaintiff’s race, ethnicity, sex, religion, or other proscribed factor caused the discharge

or other adverse employment action.’” Igasaki v. Ill. Dept. of Fin. & Prof. Reg., 988 F.

3d 948, 957 (7th Cir. 2021).


         One way of defeating an employer’s summary judgment motion is to meet the

burden shifting framework of McDonnell Douglas v. Green, 411 U.S. 792, 93 S.Ct.

1817, 36 L.Ed.2d 668 (1973). Id. “The familiar McDonnell Douglas approach requires

a plaintiff to make a prima facie case of discrimination, at which point the burden

shifts to the employer to offer a nondiscriminatory motive, and, if the employer does


17 Thorsen alleges in his Fifth Amended Complaint that “Defendant otherwise created a
hostile environment, intolerable conditions, and undue restrictions against Christianity,”
citing the Notice to Remedy. But his 56.1 briefings don’t argue that the April 2019 events
constitute discrimination or an adverse action. On the contrary, his briefings focus
exclusively on the August departure.
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so, the burden shifts back to the plaintiff to show that the employer’s stated reason

was a pretext.” Id. (citing Purtue v. Wisconsin Dep’t of Corr., 963 F.3d at 598, 602 (7th

Cir. 2020)). To make a prima facie case under McDonell Douglas, a plaintiff must

show: (1) he belongs to a protected class; (2) he met his employer’s legitimate

expectations; (3) he suffered an adverse employment action; and (4) another similarly

situated employee outside of his protected class received better treatment from his

employer. Marshall v. Indiana Dep’t of Correction, 973 F.3d 789, 791–92 (7th Cir.

2020). But a plaintiff need not use the McDonell Douglas framework after Ortiz v.

Werner Enterprises, Inc., 834 F.3d 760 (7th Cir. 2016). Igasaki, 988 F.3d at 957. At

summary judgment, “[w]hat matters is whether [a plaintiff] presented enough

evidence to allow the jury to find in [his] favor.” Vega v. Chicago Park Dist., 954 F.3d

996, 1004 (7th Cir. 2020).     Under either framework, Thorsen fails to make the

required showing.


             1)     Adverse Employment Action


      As a threshold matter, Thorsen must first establish that the District took an

adverse employment action against him. If, on the other hand, Thorsen voluntarily

resigned, the District wouldn’t face Title VII liability. In this case, Thorsen contends

that his August 2019 departure constituted an adverse employment action.


      As this Court carefully explained in its Order on the District’s Motion to

Dismiss, dkt. 46, an employer’s conduct can constitute an adverse action even if a

plaintiff technically resigned. See dkt. 46, pgs. 10–18 (discussing other scenarios that

qualify as an adverse action, specifically “threat-plus misrepresentation,” “can’t-take-

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it-anymore,” and “fait accompli” theories). In that decision, the Court noted Thorsen’s

“sparse” allegations, and stressed that “[w]hen a plaintiff has difficulty framing a

claim, that is likely a bad sign as to the merits of the action.” Id., at pg. 16. The

Court conceded, however, that “[its] suspicions of the merits of the claims does not

result in dismissal.” Id., at pg. 17.


      As the Court predicted, discovery didn’t help Thorsen’s speculative claim.

Even considering the additional “facts” inappropriately thrown in Thorsen’s

56.1(b)(2) response, a reasonable fact-finder can’t conclude that Thorsen didn’t resign

on his own. Thorsen’s claim rests largely on his unsupported theory that the Union

and the District colluded “behind his back.” In reality, as his Union representatives

explained, it was in Thorsen’s best interest to resign as it avoided a “termination” on

his record. Thorsen admits that O’Keefe lacked the authority to fire him sua sponte

(hampering his threat-plus and fait accompli theories), although he argues with little

admissible support that the Board rubber-stamped the District’s decisions. Without

any discussion, he also concludes that the August 2019 meeting’s circumstances

(where he was allegedly yelled at without counsel and only given a resignation offer)

qualifies as a termination under the “can’t take it anymore standard.” These are

largely the same “scarce” facts that barely survived a motion to dismiss; they’re

insufficient to meet the summary judgment standard.


             b)     Religious Discrimination


      Assuming, arguendo, that the District effectively fired Thorsen, he still can’t

defeat the summary judgment motion.            His claim turns on a simple, largely

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uncontested question: In April 2019, did the District validly adopt a Notice to Remedy

restricting Thorsen’s conduct? Thorsen doesn’t meaningfully allege that the District

singled him out to impose strict conditions. To the contrary, credible allegations

about Thorsen’s conduct were brought to the District’s attention, prompting an

investigation. After conducting many interviews and meeting with Thorsen, the

District found that Thorsen behaved inappropriately, failing to respect proper

student–teacher boundaries.        The District then proposed and the School Board

adopted the April 2019 Notice.


         An important note: Thorsen never alleges that the District didn’t afford him

due process or that the restrictions were unconstitutional. 18 He disagrees with the

District’s substantive findings and believes he acted properly with the student, but

that’s all irrelevant. Without Thorsen identifying something legally wrong with the

District’s Notice, it’s not the Court’s job to second-guess whether it reached the correct

decision in initially imposing the restrictions.


         With the Notice restrictions in place, a reasonable fact-finder can’t conclude

that Thorsen “met his employer’s legitimate expectations.” The Notice clearly barred

Thorsen from discussing a student’s “cultural, religious, or racial” background or

speaking about religion outside the assigned curriculum. Yet, on the first days of

school, Thorsen led an irregular ice-breaker that, at a minimum, prodded discussion



18Thorsen mentions many times that his Union representatives didn’t participate as much
as he thought they should have. Similarly, he believes the District didn’t adequately consider
his arguments at the April 2019 meeting. True or not, neither renders the Notice legally
inadequate.
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about restricted topics.     Additionally, Thorsen brought multiple KFC buckets

(unquestionably likely to provoke inquiry) to highlight ancient Christians’

willingness to engage in martyrdom.


      Thorsen devotes much of his 56.1(b)(2) Response to arguing why his actions

technically fell within the curriculum, and therefore didn’t violate the Notice. The

Court doesn’t need to decide whether that’s true, though it notes Thorsen seems to

stretch the language. The District had just suspended Thorsen and imposed clear

conditions on his return. It could legitimately expect that, on his first days back, he

wouldn’t come near the line.         And, in any event, firing him for borderline

transgressive conduct doesn’t then establish that the discharge was religiously

discriminatory. See Gates v. Caterpillar, Inc., 513 F.3d 680, 691 (7th Cir. 2008) (citing

Ineichen v. Ameritech, 410 F.3d 956, 961 (7th Cir. 2005) (“[I]t is not the court’s concern

that an employer may be wrong about its employee’s performance, or be too hard on

its employee. Rather, the only question is whether the employer’s proffered reason

was pretextual, meaning that it was a lie.”)); Ptasznik v. St. Joseph Hosp., 464 F.3d

691, 697 (7th Cir. 2006) (“Federal courts have authority to correct an adverse

employment action only where the employer’s decision is unlawful, and not merely

where the adverse action is unwise or even unfair.”).


      Finally, Thorsen doesn’t identify any similarly-situated employee who the

District treated more favorably. He alleges without support that the District allowed

other employees to discuss their personal views, and that others led similar ice-

breakers. Again, he provides no admissible proof to support that speculation. But

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even if he’s right, he doesn’t allege that those employees were subject to a Notice to

Remedy that imposed specific restrictions, so they’re not similarly situated. So,

Thorsen doesn’t rebut the presumption that the District acted without a religiously

discriminatory purpose.


         Thorsen doesn’t fare better under the Ortiz framework. Under that standard,

the “determinative question” is whether the evidence would permit a reasonable

factfinder to conclude that the plaintiff’s religion caused the discharge or other

adverse employment action. Ortiz, 834 F. 3d at 765. In Thorsen’s case, the admissible

evidence demonstrates that the District imposed restrictions on Thorsen’s conduct

because parents credibly accused him of acting inappropriately and not respecting

proper boundaries. 19     When the District believed that Thorsen violated those

restrictions, they prepared to impose further consequences. But at all times, the

evidence shows it was Thorsen’s Notice violations—not his religion—that triggered

disciplinary action.


         c)     Remaining Counts


         Because the Court grants the District’s Motion on the Title VII claim, it

declines to exercise supplemental jurisdiction over the fraud and conspiracy claims.

See RWJ Mgmt. Co. v. BP Prods. N. Am., 672 F.3d 476, 479-80 (7th Cir. 2012). These

claims are dismissed for lack of jurisdiction.



19The restrictions undoubtedly touched on religious conduct, but the evidence shows that
religious discussions were the means by which Thorsen allegedly crossed student–teacher
boundaries, so it’s unsurprising that the Notice restricted such conduct. Again, Thorsen
doesn’t allege that the Notice restrictions violated any other law.
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Conclusion


For the above reasons, the Court grants the District’s Motion [192]. It dismisses the

remaining state law claims for lack of jurisdiction.




Date: December 19, 2024                        By:     ________________
                                                       Iain D. Johnston
                                                       United States District Judge




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